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     1   Name: Fernando Gastelum
                                                                                                     FILED
         Address: 209 W. 9th Street, Casa Grande, AZ 85122                                             JUL O5 2022
  2
         Telephone Number: 520-560-0927
                                                                                               CLERK U.S. DISTRICT COURT
  3      Email: fernandog8899@gmail.com                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                                           BY                         DEPUTY
         Prose
  4
  5                                         UNITED STATES DISTRICT COURT
                                           SOUTHER DISTRICT OF CALIFORNIA
  6
         Fernando Gastelum,
  7                                                                       Case No.: 3:21-cv-01458-JLS-DEB
                                        Plaintiff,
  8
                                                                          PLAINTIFF'S VERIFIED RESPONSE
  9      vs.                                                                TO DEFENDANT'S MOTION TO
                                                                          DISMISS 15 T AMENDED COMPLAINT
 10      Pinnacle Hotel Circle LP
         dba Comfort Inn and Suites San Diego
 11      Zoo SeaWorld Area,
 12
                                        Defendant.
13

14
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19
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21             b. Plaintiff's Injury is Actual and Imminent and not Conjectural or
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22
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23

24             d. The FAC complies with ADA General Standing Requirements, this
                  Court's Prior Order, This Court's Prior Decision Relating to Plaintiff's
25                Standing, Southern District's Prior Decisions on Standing, and Section
                  Ill (a) Above .... .. .... ... ... ... ... ........ ................. .... ................. ...... .... 10
26
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27

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  2       VI. Conclusion And Prayer for Relief....................................................... 13
  3       VI I. Verification ... ... . . . . . . . . . . .. . . . . .. . . . . . . . . . . . . . . . .. . .. . .. . . . . . .. . . . . . . .. . . .. . . . . . . .. . . .. . . . .. 13
  4
      I. STATUS OF THE CASE
  5
  6                 Plaintiff filed his initial complaint on August 17, 2021. Dkt. at 1. Defendant filed a
      Motion to Dismiss, dkt. at 3, and the matter was fully briefed. On May 20, 2022, the
  7
      Court issues the Order Granting Defendant's Motion to Dismiss, dkt. at 13 ("Order"). In
  8
      its Order, the Court outlined the deficiencies with Plaintiffs initial complaint and granted
  9   Plaintiff leave to amend the complaint.
 10                 Plaintiff amended his complaint that fully, finally and truthfully resolved all issues
 11   found inadequate by the Court. Dkt. at 14.

 12                 Nonetheless, Defendant now resubmits his cut and paste duplication of its earlier
      Motion, citing to decisions debunked by the 9th Circuit Court of Appeals and 9th Circuit's
 13
      California district courts - including this district - and misrepresenting Plaintiff's position.
14
      This is no less than a continuation of Defense counsel's attempts to deny Plaintiff his
15
      civil rights of equal access through his continuing threats, intimidation, coercion and
16    attrition . See Exhibit 2 to Declaration of Fernando Gastelum relating Mr. Stillman's threat
17    of filing Rule 11 motions, requiring Plaintiff to post a bond, declaring Plaintiff a vexatious
18    litigant and demanding lawyers' fees. Dkt. at 6, page 28 of 54.

19    II. FACTUAL ALLEGATIONS SATISFY PROPER PLEADING REQUIREMENTS

20                 Plaintiff is a 61-year-old man with physical disabilities. Plaintiff is economically
      disadvantaged 1 . Plaintiff is missing a leg . Plaintiff uses a wheelchair for mobility when
21
      locations are wheelchair accessible and a prosthetic leg and a cane when the location
22
      is not wheelchair accessible. Plaintiff has a specially equipped sport utility vehicle. First
23
      Amended Complaint ("FAC") at ,-I,11 , 20:
24
25
      1
26      Plaintiff has been declared a pauper by the Southern California District in Gastelum v.
      HEES II (S.D. 3:21-cv-01337-JLS-RBB) Dkt. at 3. Notably, Southern District accepted
27    Plaintiff's Amended Complaint as adequate pursuant to 28 U.S.C. § 1915(e)(2) (relating
      to screening of In Forma Pauperis Complaints). Dkt. at 9. The current Verified First
28    Amended Complaint not only meets, but exceeds, the standing allegations in the HEES
      II.
                                                                                                 2
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 11
              Since 2015, Plaintiff has been using a wheelchair for mobility in locations that
 12
      are designed for wheelchair use. ,I2. The use of a wheelchair is Plaintiff's preferred
 13   method of dealing with his disability. ,I3. Where locations are not designed for the use
 14   of a wheelchair, Plaintiff must use his prosthetic leg and a cane to move short distances

 15   in order to navigate barriers to accessibility with great pain and discomfort; walking on
      the prosthesis is painful, uncomfortable, and causes the prosthesis to rub against
 16
      Plaintiff's skin. When Plaintiff uses the prosthetic, his leg sweats which in turn loosens
17
      the prosthetic sleeve that begins to slip back and forth . Plaintiff can no longer walk
18
      then. This requires Plaintiff to stop, remove the prosthetic leg, let the sleeve dry up, and
19    then put the prosthetic leg back on again. Even with the use of the prosthesis and a
20    cane, Plaintiff's ability to negotiate mobility barriers alleged in this complaint is severely
21    restricted . ,J4.

22            The use of the prosthesis and a cane for short distances limits the use of
      Plaintiff's arms and hands because the right arm and hand are used for the cane and
23
      cannot be used, as for example, when opening doors. Door opening requires the use of
24
      two hands: one to turn the handle, the other to push the door open. Additionally,
25    Plaintiff cannot use his body to lean into a door to open it because that causes
26    additional stress on the prosthetic leg . Further, walking on sloped ground with the
27    prosthesis and a cane restricts Plaintiff from maintaining balance and endangers him to

28    falling down . ,J5.


                                                    3
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     1           Although Plaintiff's family comes from California, FAC at ,r 12, Plaintiff currently

  2       resides in Casa Grande, Arizona which is the only place where he can afford housing.
          But for availability of modest housing, Plaintiff would prefer to live in California where
  3
          he is closer to his friends, family, the Pacific Coast and various chapters of the 49ers
  4
         Faithful Empire Club. ,I13.
  5
                 Plaintiff enjoys California's Pacific Coast and travels there often with his family.
  6      ,I14. San Diego is the gateway to California's Pacific Coast and the closest Pacific
  7      beach to Casa Grande. ,r15. San Diego is the location of the world-famous SeaWorld

  8      which is the closest sea park to Casa Grande. ,r16. Plaintiff has visited SeaWorld 20-30
         time in the past. ,r17. Sea World is an educational park where Plaintiff takes his family.
  9
         ,r18. Plaintiff has visited the area and the location where the Hotel is situated
 10
         innumerable times, in no event less than 30-40 times. ,r19. Plaintiff is also a member of
 11
         the 49ers Faithful Empire Club with chapters all over California, including San Diego.
 12      ,r21. The 49ers Faithful Empire Club members regularly meet in season and off season
 13      for social barbecues. ,r22.
 14             Pinnacle Hotel Circle, LP owns and operates the Comfort Inn and Suites San

15       Diego ("Hotel").   ,r 6. But for lack of accessibility at the Hotel, Plaintiff would prefer to
         lodge there when he visits San Diego 2-4 times per year, ,I24, because the Hotel
16
         provides an excellent lodging for Plaintiff because of its location, closeness to
17
         numerous budget eateries, and sits a short distance to Sea World where Plaintiff has
18
         visited numerous times and intends to visit again with his grandkids,        ,r,r 24-27.
19              Plaintiff visited the Hotel on July 2, 2021 , with the intention of lodging there. ,I29.
20       Unfortunately, he was prevented from lodging there by Hotel's lack of compliance with

21       disability laws and ADA Standards of Accessibility Design . ,I34 (a)-(c) .
                Plaintiff prefers lodging in budget hotels like the Comfort Inn & Suites San Diego
22
         - Zoo SeaWorld Area because they provide lodging services at low price but are
23
         generally clean. ,I23. Plaintiff stops in the San Diego / Hotel Circle area on at least 2-4
24
         times per year to lodge, eat or attend a 49ers Empire SoCal barbecue, or on his way to
25       Los Angeles and Northern California. ,I24. Hotel Circle provides an excellent lodging
26       stop before turning onto Interstate 5 from Interstate 8 traveling North to Los Angeles

27       and Northern California. ,I25. The Hotel is also convenient to Plaintiff because it is
         located within a short distance of numerous budget eateries. ,-J26. The Hotel is also
28
         convenient to Plaintiff because it is located within a short distance to SeaWorld which
                                                         4
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     1    Plaintiff has visited numerous times in the past and which he intends to visit again with

  2       his grandkids in the spring of 2023. ,I27.
                 Since the filing of the Complaint, Plaintiff returned to San Diego/ Hotel Circle on
  3
         January 27, 2022, but was deterred from staying at the Hotel because Plaintiff knew
  4
         that the Hotel was exclusionary to persons with disabilities. Plaintiff again travelled on
  5
         Interstate 8 to San Diego on February 24 , 2022 , but did not stay at the Hotel based on
  6      his prior experience that the Hotel was not ADA compliant.
  7              Plaintiff intends to return to the San Diego / Hotel Circle area where the Hotel is
  8      located at a specific time in the fall of 2022 to access the Pacific Coast, and then again
         in the spring of 2023 to visit Sea World with his family. FAC at ,I,I41-42 . Plaintiff also
  9
         intends to return there to attend specifically scheduled 49ers Faithful Empire Club
 10
         social barbecues. ,I43.
 11
                On the basis of his experience with the Hotel, and the Hotel's refusal to
 12      intentionally and without good cause (1) fail to modify its policies, practices or
 13      procedures to afford goods, services, facilities, privileges, advantages, or
 14      accommodations to individuals with disabilities in violation of 42 U.S.C. §

 15      12182(b)(2)(A)(ii); and (2) fail to remove architectural barriers where such removal is
         readily achievable in violation of 42 U.S.C. § 12182(b)(2)(A)(iv) , Plaintiff alleges that
 16
         the Hotel poses an existential and immediate threat to the equality and equity in the
 17
         public space. ,I 44. As a result, Plaintiff is deterred from staying at the Hotel. ,I 45
 18
         Plaintiff will return to the Hotel Circle to lodge there once it is represented to him that
19       the Hotel is accessible to him. Plaintiff is currently deterred from doing so because of
20       his knowledge of the existing barriers and his uncertainty about the existence of yet

21       other barriers on the site. If the barriers are not removed , the plaintiff will face unlawful
         and discriminatory barriers again. ,I 46.
22
         111. PLAINTIFF HAS ST ANDING
23
            a. ADA Standing Requirements
24
                The ADA is a civil rights statute that relies primarily on private enforcement
25       actions to obtain compliance, and the Supreme Court has instructed that courts
26       therefore should take a "broad view of constitutional standing." Doran v. 7-Ele ven, Inc.,

27       524 F.3d 1034, 1039 (9th Cir. 2008) (quoting Trafficante v. Metro. Life Ins. Co., 409
         U.S. 205, 209 (1972)). A plaintiff asserting an ADA claim must nonetheless establish
28
         his standing under Article Ill of the United States Constitution. Id. Under Article Ill of
                                                        5
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  1   Constitution, federal courts have jurisdiction to decide only actual "Cases" or

  2   "Controversies," U.S. Const., art. Ill,§ 2, and Plaintiff has standing to sue if he "(1)
      suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the
  3
      defendant, and (3) that is likely to be redressed by a favorable judicial decision."
  4
      Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016); see also Lujan v. Defenders of
  5
      Wildlife, 504 U.S. 555, 560- 61 (1992). Plaintiff's claimed injury must be both
  6   "particularized" and "concrete." A "particularized " injury is one that "'affect[s] the plaintiff
  7   in a personal and individual way. "' Spokeo, Inc., 136 S. Ct. at 1548 (quoting Lujan, 504

  8   U.S. at 560 n.1). A "concrete" injury "must actually exist" and must be "real , and not
      abstract." Id.
  9
             In the context of injunctive relief, which is the only remedy available to Plaintiff
 10
      under Title Ill of the ADA, see 42 U.S.C. § 12188; Wander v. Kaus, 304 F.3d 856, 858
 11
      (9th Cir. 2002) , a plaintiff "must additionally demonstrate a sufficient likelihood that he
 12   will again be wronged in a similar way." Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d
 13   1075, 1081 (9th Cir. 2004) (internal quotations and citation omitted) . "That is, he must
 14   establish a real and immediate threat of repeated injury. " Id. (internal quotations and

 15   citation omitted). In the Ninth Circuit, an ADA plaintiff may establish standing "either by
      demonstrating deterrence, or by demonstrating injury-in-fact coupled with an intent to
 16
      return to a noncompliant facility." Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939,
 17
      944 (9th Cir. 2011 ).
18
             Defendant argues that Plaintiff does not have standing to seek injunctive relief
19    because he fails to establish a likelihood of future injury, saying that Plaintiff's residence
20    is just too far from the Hotel and that his professed intent to return is not credible.

21    Defendant argues that Plaintiff has not alleged facts showing that he is actually
      deterred from returning to the Hotel. But the Ninth Circuit has rejected this argument,
22
      stating that allegations that disabled plaintiff intends to visit a place of public
23
      accommodation but is deterred from doing so by non-compliance with the ADA are
24
      sufficient to establish standing to assert injunctive relief claims. See C.R. Educ. & Enf't
25    Ctr. v. Hosp. Properties Tr. , 867 F.3d 1093, 1099 (9th Cir. 2017) (CREEC) ; Pickern v.
26    Holiday Quality Foods, Inc., 293 F.3d 1133, 1138 (9th Cir. 2002). Whitaker v. Tesla

27    Motors, Inc., 985 F.3d 1173 (9th Cir. 2021), Gastelum v. HEES II (S.D. Cal 3:21-cv-

28
      01337-JLS-RBB) at dkt 3 (2022); Brooke       v. Rio San Diego Mission Valley Owner, LLC
      (S. D . Cal. 3:20-cv-00975-W-AHG) at dkt. 9 (2021); (Whitaker v. Tesla Motors, lnc.(S.
                                                     6
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     1    D. Cal.3:19-cv-01193-AJB-BLM) at 0kt. 33 (2021 ); Johnson v. Fogo De Chao

  2      Churrascaria, (N.D. Cal. 5:21-cv-02859-BLF) at dkt 23 (2021); Johnson v. Smith (N . D.
         Cal. 3:21-cv-05646-TSH) at dkt. 21 (2022); Whitaker v. Mac, (C. D. Cal. 2:19-cv-03002-
  3
         GW-E) at dkt. 22 (2019).
  4
                 Plaintiff here not only alleges that he intended to return to the Hotel and that he
  5
         is deterred from returning to the Hotel. Plaintiff's credibility on this issue is unassailable
  6      because Plaintiff in fact returned to the Hotel in January of 2022 when he was actually
  7      deterred from staying at the Hotel, and that he was traveling on Interstate 8 toward the
  8      coast in February of 2022 when he was again deterred from staying at the Hotel.
         Plaintiff he has specific schedule for returning to the Hotel in the fall of 2022 and then
  9
         again in the Spring of 2023 if it is accessible. Plaintiff is currently deterred from doing so
 10
         because of his knowledge of the existing barriers and his uncertainty about the
 11
         existence of yet other barriers on the site. If the barriers are not removed , the plaintiff
 12      will face unlawful and discriminatory barriers again. This sufficiently "demonstrate[s]
 13      deterrence" and confers injunctive relief standing . Chapman, 631 F.3d at 944; Fogo De
14       Chao Churrascaria, supra, (finding injunctive relief standing where Plaintiff alleged that

 15      he is "often in the area where the Restaurant is located and will return to the Restaurant
         . .. once it is represented to him that the Restaurant and its facilities are accessible but
 16
         is currently deterred from doing so because of the alleged inaccessibility.") (Internal
17
         quotations omitted) .
18          b. Plaintiff's Injury Is Actual and Imminent and Not Conjectural or
19             Hypothetical

20              In. CREEC, 867 F.3d at1099, the 9th Circuit Court of Appeals was tasked to

21       determine whether the allegation that the named plaintiffs were "presently deterred
         from visiting [defendant's] hotels" is sufficient to confer standing. There, the complaint
22
         alleged that named plaintiffs "intend to visit the relevant hotels but have been deterred
23
         from doing so by the hotels' noncompliance with the ADA. " Id. Based on this allegation,
24
         the court concluded that "[plaintiffs'] harm is 'concrete and particularized ,' and their
25       intent to visit the hotels once they provide equivalent shuttle service for the disabled
26       renders their harm 'actual or imminent, not conjectural or hypothetical."' Id. (citing Lujan

27       v. Defs. Of Wildlife , 504 U.S. 560, 560 (1992)).
                Moreover, the court held that the named plaintiffs need not intend to visit the
28
         Hotel until after remediation. The court rejected defendant's argument that plaintiff must
                                                       7
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  1   establish a sufficient likelihood that they will again be wronged in a similar way because

  2   the injury continues so long as the equivalent access is denied. Id. at 1100-01. While
      relying on Tenth Circuit case law, the court held that the motivation to visit a public
  3
      accommodation is irrelevant to the question of standing under Title Ill of the ADA. Id. at
  4
      1102.
  5
              Then in Whitaker v. Tesla Motors, Inc., 985 F.3d 1173 (9th Cir. 2021) the 91h
  6   Circuit Court of Appeals confirmed that a complaint alleging (1) disability, (2) visit to the
  7   public accommodation , (3) personal encounter with barriers and (4) deterrence is all that
  8   is needed for standing purposes. Id., 985 F. 3d at 1177.
          c. The "4 Factors" No Longer Apply
  9
              Defendants urge the Court to require Plaintiff to prove additional elements to
 10
      establish standing, as some other district courts in the Ninth Circuit have done in ADA
 11
      cases. Those courts have required plaintiffs to plead (1) the proximity of the place of
 12   public accommodation to plaintiff's residence; (2) plaintiff's past patronage of
 13   defendant's business; (3) the definitiveness of plaintiff's plans to return , and (4)
 14   plaintiff's frequency of travel near defendant. See, e.g., Molski v. Kahn Winery, 405 F.

 15   Supp. 2d 1160, 1163 (C.D. Cal. 2005).
              While these factors all weigh in Plaintiff's favor, the 9th Circuit Court of Appeals
 16
      has had many opportunities to address the so called "4 factors", see e.g., CREEC and
17
      Whitaker, but has declined to require allegations of those. So, in his Order Denying
18
      Motion to Dismiss in Johnson v. Smith, supra, the District Court specifically noted that
19    these additional elements are unnecessary on top of the allegations that the Ninth
20    Circuit has already found sufficient to confer injunctive relief standing. The Court cited

21    to Strojnik v. Bakersfield Convention Hotel I, LLC, 436 F. Supp. 3d 1332, 1343 (E.D.
      Cal. 2020) (noting that the Ninth Circuit "has not adopted" these factors "despite having
22
      confronted the same or similar issue repeatedly") and Fogo De Chao Churrascaria,
23
      supra (same) .
24
              The one time the 9th Circuit Court of Appeals indirectly addressed this issue was
25    in O'Lil v. Best W Encina Lodge & Suites, 538 F.3d 1031, 1037 (9th Cir. 2008) where
26    the Court stated , 538 F. 3d 1037:

27            [W]here ... the public accommodation being sued is far from the plaintiff's
              home, we have found actual or imminent injury sufficient to establish
28            standing where a plaintiff demonstrates an intent to return to the geographic

                                                    8
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  1           area where the accommodation is located and a desire to visit the
              accommodation if were made accessible.
  2
              Here, Plaintiff has demonstrated that he intends to return to the geographic area
  3
      where the Hotel is located, FAC at ,J19 ("Plaintiff has visited the area and the location
  4
      where the Hotel is situated innumerable times, in no event less than 30-40 times"), ,I 24
  5
      ("Plaintiff stops in the San Diego / Hotel Circle area on at least 2-4 times per year to
  6   lodge, eat or attend a 49ers Empire SoCal barbecue, or on his way to Los Angeles and
  7   Northern California"). Plaintiff likewise demonstrated his intent to return to the Hotel if it
  8   were made accessible, see ,I41 ("Plaintiff intends to visit San Diego and SeaWorld at a
      specific time in the spring of 2023 with his family."), ,I42 ("Plaintiff intends to visit San
  9
      Diego and SeaWorld at a specific time in the spring of 2023 with his family. "), ,I43
 10
      ("Plaintiff will return to San Diego for scheduled 49ers Faithful Empire Club social
 11
      barbecues"). Plaintiff has already been deterred no less than twice from returning to
 12   the Hotel, first on his visit to San Diego on January 27, 2022, and then again in
 13   February of 2022, see supra. Plaintiff also explains the reasons why he wants to stay
 14   at the Hotel, including for interim lodging in Can Diego on trips to Los Angeles and

 15   Northern California, ,I 24, because of its excellent location before turning onto
      Interstate 5 from Interstate 8, ,I 25, its location close to numerous budget eateries, ,I
 16
      26, the proximity to Sea World, ,I 26, for visits to 49ers Empire Club barbecues. ,I 24.
 17
             Plaintiff will return to the Hotel Circle to lodge there once it is represented to him
18    that the Hotel is accessible to him. Plaintiff is currently deterred from doing so because
19    of his knowledge of the existing barriers and his uncertainty about the existence of yet
20    other barriers on the site. If the barriers are not removed , the plaintiff will face unlawful

21    and discriminatory barriers again. ,I 46. Plaintiff will return to the Hotel to avail himself
      of its goods and services and to determine compliance with the disability access laws
22
      once it is represented to him that the Hotel is accessible. Plaintiff is currently deterred
23
      from doing so because of his knowledge of the existing barriers and his uncertainty
24
      about the existence of yet other barriers on the site. If the barriers are not removed , the
25    plaintiff will face unlawful and discriminatory barriers again. ,I 47.
26
27
28

                                                     9
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      1       d. The FAC Complies with ADA General Standing Requirements, this Court's
                 Prior Order, This Court's Prior Decision Relating to Plaintiff's Standing,
  2              Southern District's Prior Decisions on Standing, and Section Ill (a) Above.
  3
                 The FAC is a result of careful analysis of the Order, dkt. at 13, this Court's finding
  4       of adequacy of Plaintiff's allegations in Gastelum v. HEES II, supra, where this Court
  5       accepted Plaintiff's Amended Complaint as adequate pursuant to 28 U.S.C. § 1915(e)(2)
  6       (relating to screening of In Forma Pauperis Complaints). The current Verified First

  7       Amended Complaint not only meets, but exceeds, the standing allegations in the HEES
          II and prior 9th Circuit Court of Appeals and District Court precedents.
  8
                 The FAC also satisfies the ADA complaint that has been found adequate by
  9
          Southern District's Hon. Anthony J. Battaglia who vehemently disagrees with the entirety
 IO       of Defendant's contentions. In Whitaker v. Tesla Motors, Inc. (S.D.Cal. 3:19-cv-01193-
 11       AJB-BLM) at dkt 33, Judge Battaglia noted:
 12              Here, Plaintiff alleges that he uses a wheelchair for mobility, that he visited
                 Defendant's premises in June 2019, personally encountered barriers
 13              related to his disability-namely, service counters that are too high and the
                 unavailability of lowered ones-and that knowledge of the existing barriers
 14
                 deter him from returning to the Dealership. As Plaintiff's allegations are
 15              virtually identical to those the Ninth Circuit found to be sufficient for Article
                 Ill standing, the Court similarly finds that Plaintiff has pied facts sufficient to
 16              establish standing in this ADA case.

 17              See also Judge Beth Labson Freeman's decision in Johnson v. Fogo De Chao
 18       Churrascaria LLC, supra, where the Court noted at dkt 23,

 19             Plaintiff here alleges that he is "often in the area where the Restaurant is
                located" and "will return to the Restaurant ... once it is represented to him
 20             that the Restaurant and its facilities are accessible," but is "currently
                deterred from doing so" because of the alleged inaccessibility. FAC ,-r 20.
 21             This sufficiently "demonstrate[s] deterrence" and confers injunctive relief
                standing .
 22

 23             Similarly, Judge Thomas S. Hixson also disagreed with Defendant's contention in
          Johnson v. Smith, supra at dkt. 21 where he stated:
 24
                Johnson alleges he "will return to Stucco Supply to avail himself of its goods
 25             or services and to determine compliance with the disability access laws
                once it is represented to him that Stucco Supply and its facilities are
 26
                accessible," but he "is currently deterred from doing so because of his
27              knowledge of the existing barriers and his uncertainty about the existence
                of yet other barriers on the site. " Compl. ,-r 20. This sufficiently
28              "demonstrate[s] deterrence" and confers injunctive relief standing.
                Chapman, 631 F.3d at 944; Fogo De Chao Churrascaria , 2021 WL
                                                        10
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  1          3913519, at *4 (finding injunctive relief standing where Johnson alleged he
             is "often in the area where the Restaurant is located and will return to the
  2          Restaurant . . . once it is represented to him that the Restaurant and its
             facilities are accessible, but is currently deterred from doing so because of
  3
             the alleged inaccessibility.") (Internal quotations omitted) .
  4
             Id. at 4:28- 5:19.
  5
             Plaintiff's FAC complies with ADA General Standing Requirements, this Court's
  6   Order, This Court's Prior decision relating to Plaintiff's Standing, Southern District's Prior
  7   Decisions on Standing, and Section Ill (a) Above.

  8   IV. FAC COMPLIES WITH RULE 8
             In Whitaker v. Tesla Motors, supra, 985 F. 3d at 1177, the 9th Circuit Court of
  9
      Appeals addressed the sufficiency of the rule 8 statement of claim by noting that the
 10
      description of the barrier must include the basic question in what way a barrier violates
 11
      the ADA (e.g., "Were the service counters too low? Or too high?")
 12          Plaintiffs FAC complies with Whitaker with the following allegations:
 13
             34. Unfortunately, on the date of the plaintiffs visit, Plaintiff discovered
 14             that the Hotel was not compliant with the disability access laws in
                 conformance with the ADA Standards as it relates to wheelchair users
 15              like Plaintiff:
 16             a. Curb ramp was located on the accessible parking access aisle.
 17                This condition makes it more difficult for Plaintiff to maintain control
                   of the wheelchair when exiting the car.
 18
                b. Access aisle did not connect to an accessible route. This condition
 19                makes it more difficult for Plaintiff to access the Hotel lobby.
 20             c. Access aisle slope was too steep. This condition makes it more
 21                difficult for Plaintiff to control the wheelchair when using the access
                   isle.
 22
             These allegations were supported by the photographs provided by Plaintiff in his
 23
      Declaration, dkt. at 6 , where he states:
 24
             When I came to the Hotel, I noted that it was not compliant with the
 25          Americans with Disabilities Act and the California's civil rights laws and
             California disabled person's law in the following respects:
 26
                a. Curb ramp is located on the accessible parking access aisle. This
 27                condition makes it more difficult for me to maintain control of the
                   wheelchair when exiting the car:
 28

                                                   11
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      1
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  3
  4
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  6
  7                  b. Access aisle does not connect to an accessible route. This
                        condition makes it more difficult for me to access the entrance.
  8
  9
 10

 11
 12

 13

 14
                    c. Access aisle slope is too steep. This condition makes it more
 15                    difficult for me to control the wheelchair when using the access
                       aisle.
 16
 17

 18

 19

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 21

 22
 23             The above written and pictorial descriptions of the barriers clearly satisfy the
 24       Whitaker requirement.

 25
          V. THE COURT SHOULD STAY THE CONSIDERATION OF SUPPLEMENTAL
 26          CLAIMS

 27             The Unruh Supplemental claim runs in the background of the primary ADA
 28       claim. It does not cause any additional work to the parties or the Court. On the other

                                                     12
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      hand, a dismissal will cause the parties to incur additional court costs in the Superior

  2   Court upon refiling, it will take additional time and effort, and will result in extreme
      inconvenience and inefficiency. For these reasons, Plaintiff requests that the Court stay
  3
      the consideration of the dismissal of the Unruh claim or, alternatively, grant Plaintiff the
  4
      right to amend the Complaint and substitute the Unruh Claim with the Disabled Persons
  5
      Act claim.
  6   VI. CONCLUSION AND PRAYER FOR RELIEF
  7            Plaintiff's First Amended Complaint is true, tried and truthful statement of facts

  8   and jurisdictional allegations that California District Courts have found sufficient in cited

  9   cases. To the extent that there are any additional facts that need to be alleged or proven
      with supplemental declarations, Plaintiff requests leave to file such.
 10
               Defendant's Motion should be denied in its entirety.
 11
      VII. VERIFICATION
 12         Plaintiff verifies under the penalty of perjury that the factual allegations made here
 13   are true and correct to the best of his knowledge, information and belief.
 14         RESPECTFULLY SUBMITTED (MAILED) on July 1, 2022.

 15
 16         Fernando Gastelum
 17
      Mailed to the District Court this 1st day of July 2022 . Copies emailed to counsel Philip
 18   Stillman.

 19   /s/
 20
 21
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 23
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 25

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     Case 3:21-cv-01458-JLS-DEB
      Fernando Gastelum         Document 16 Filed 07/05/22 PageID.298 Page 14 of 15
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      209 West 9 Street
      Casa Grande, AZ 85122




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                                                                Clerk of the Court
                                                                United States District Court
                                                                Southern District of California
                                                                333 West Broadway, Suite 420
                                                                San Diego, CA 92101




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